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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

   JELENA ZURILO, derivatively on behalf of
   FIRST CHOICE HEALTHCARE SOLUTIONS,
   INC.,

            Plaintiff,

            vs.                                        Case No. 6:20-cv-00387-PGB-LRH

   CHRISTIAN C. ROMANDETTI, PHILLIP J.
   KELLER, GARY AUGUSTA, DONALD A.
   BITTAR, JAMES RENNA, SHEILA H.
   SCHWEITZER, MARK BURNETT, JEFFREY
   MILLER, FRANK SARRO, ANTHONY
   VASSALLO, and ELITE STOCK RESEARCH,
   INC.,

            Defendants,

            and

   FIRST CHOICE HEALTHCARE SOLUTIONS,
   INC.,

         Nominal Defendant.
   ____________________________________________/

                              JOINT NOTICE OF SETTLEMENT

            Pursuant to Local Rule 3.08, Nominal Defendant First Choice Healthcare Solutions,

   Inc. (“First Choice”), Defendants Phillip J. Keller, Gary Augusta, Sheila H. Schweitzer, and

   James Renna (collectively with First Choice, the “FCHS Defendants”), and Plaintiff Jelena

   Zurilo (together with the FCHS Defendants, the “Parties”), by and through undersigned

   counsel, hereby notify the Court that they have reached an agreement-in-principle to resolve

   this matter.




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            On May 6, 2020, the Parties conducted a mediation with the aid of mediator Simone

   K. Lelchuk. Although a settlement was not reached at mediation, the negotiations continued

   over the subsequent weeks. The Parties have now reached an agreement-in-principle to fully,

   finally, and forever resolve this matter, subject to court approval. The parties expect to have

   executed a formal stipulation of settlement within 30 days.

            The Parties therefore respectfully request that the Court stay all pretrial proceedings

   and provide the Parties with 45 days to file a comprehensive written stipulation of settlement,

   together with a motion for preliminary approval thereof.

                            LOCAL RULE 3.01(g) CERTIFICATION

            Pursuant to Local Rule 3.01(g), the undersigned counsel certifies that counsel for

   First Choice and Mr. Keller conferred with counsel for Plaintiff and the remaining FCHS

   Defendants on May 27, 2020, and all agree to the relief sought herein.




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   DATED: May 27, 2020.            Respectfully submitted,

    /s/ Jose D. Sosa                 /s/ Brian P. Miller
    Jose. D. Sosa, Esq.              Brian P. Miller, Esq.
    Florida Bar No. 150878           Florida Bar No. 0980633
    pepe@pepesosalaw.com             Brian.Miller@akerman.com
    sosalaw@yahoo.com                Samantha J. Kavanaugh, Esq.
    THE LAW OFFICE OF JOSE D.        Florida Bar No. 0194662
    SOSA, P.C.                       Samantha.Kavanaugh@akerman.com
    1141 Via Jardin                  Ross E. Linzer, Esq.
    Palm Beach Gardens, FL 33418     Florida Bar No. 73094
    Tel: 561.670.8237                Ross.Linzer@akerman.com
                                     Jonathan D. Lamet, Esq.
    /s/ Phillip Kim                  Florida Bar No. 106059
    Phillip Kim, Esq.                Jonathan.Lamet@akerman.com
    Admitted Pro Hac Vice            AKERMAN LLP
    pkim@rosenlegal.com              Three Brickell City Centre
    THE ROSEN LAW FIRM, P.A.         98 SE 7th Street, Suite 1100
    275 Madison Ave., 40th Floor     Miami, FL 33130
    New York, NY 10016               Tel: 305.374.5600
    Tel: 212.686.1060                Fax: 305.374.5095
    Fax: 212.202.3827
                                     Attorneys for Nominal Defendant First Choice
                                     Healthcare Solutions, Inc. and Defendant
                                     Phillip J. Keller

    /s/ Timothy Brown                /s/ Rebecca K. Marine
    Timothy Brown, Esq.              Rebecca K. Marine, Esq.
    Admitted Pro Hac Vice            Florida Bar No. 1002503
    tbrown@thebrownlawfirm.net       Rebecca.Marine@lockelord.com
    THE BROWN LAW FIRM, P.C.         LOCKE LORD LLP
    240 Townsend Square              777 S. Flagler Dr.
    Oyster Bay, NY 11771             West Palm Beach, FL
    Tel: 516.922.5427                Tel: 561.820.7700
    Fax: 516.344.6204                Fax: 561.655.8719

    Attorneys for Plaintiff          Paul E. Coggins, Esq.
                                     Admitted Pro Hac Vice
                                     pcoggins@lockelord.com
                                     Brendan P. Gaffney, Esq.
                                     Admitted Pro Hac Vice
                                     bgaffney@lockelord.com
                                     LOCKE LORD LLP
                                     220 Ross Avenue, Suite 2800

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                                     Dallas, TX 75201
                                     Tel: 214.740.8000
                                     Fax: 214.740.8800

                                     Attorneys for Defendants Gary Augusta, James
                                     Renna, and Sheila H. Schweitzer




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 27, 2020, I filed the foregoing with the Court via

   CM/ECF, which will serve a true and correct copy of the foregoing via email service on

   counsel of record:

   Jose. D. Sosa,                                Rebecca K. Marine, Esq.
   THE LAW OFFICE OF JOSE D. SOSA, P.C.          LOCKE LORD LLP
   1141 Via Jardin                               777 S. Flagler Dr.
   Palm Beach Gardens, FL 33418                  West Palm Beach, FL
   Tel: 561.670.8237                             Tel: 561.820.7700
   pepe@pepesosalaw.com                          Fax: 561.655.8719
   sosalaw@yahoo.com                             Rebecca.Marine@lockelord.com

                                                 Paul E. Coggins, Esq.
  Laurence M. Rosen                              Brendan P. Gaffney, Esq.
  Phillip Kim                                    LOCKE LORD LLP
  THE ROSEN LAW FIRM, P.A.                       220 Ross Avenue, Suite 2800
  275 Madison Ave., 40th Floor                   Dallas, TX 75201
  New York, NY 10016                             Tel: 214.740.8000
  Tel: 212.686.1060                              Fax: 214.740.8800
  Fax: 212.202.3827                              bgaffney@lockelord.com
  lrosen@rosenlegal.com                          pcoggins@lockelord.com
  pkim@rosenlegal.com


  Timothy Brown
  THE BROWN LAW FIRM, P.C.
  240 Townsend Square
  Oyster Bay, NY 11771
  Tel: 516.922.5427
  Fax: 516.344.6204
  tbrown@thebrownlawfirm.net

  Attorneys for Plaintiff



   Attorneys for Defendants Gary Augusta,
   James Renna, and Sheila H. Schweitzer




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                                           /s/ Brian P. Miller
                                           Attorney




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